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                                                                                      BNDDUTY
                                U.S. District Court
                         Southern District of Florida (Miami)
                 CRIMINAL DOCKET FOR CASE #: 1:18−mj−03658−JG−2
                                 Internal Use Only

   Case title: USA v. Saenz et al                       Date Filed: 11/16/2018
                                                        Date Terminated: 11/20/2018

   Assigned to: Magistrate Judge Jonathan
   Goodman

   Defendant (2)
   Maynor Melendez−Mendoza                   represented by Noticing FPD−MIA
   17812−104                                                305.530.7000
   YOB: 1985; ENGLISH                                       Email: MIA_ECF@FD.org
   TERMINATED: 11/20/2018                                   LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender
                                                            Appointment

   Pending Counts                                          Disposition
   None

   Highest Offense Level (Opening)
   None

   Terminated Counts                                       Disposition
   None

   Highest Offense Level (Terminated)
   None

   Complaints                                              Disposition
   WARR/INDICTMENT/ED/NY/CONSPIRACY
   TO LAUNDER MONEY



   Plaintiff
   USA

    Date Filed      #   Page Docket Text

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    11/16/2018    1    3 Magistrate Removal of Indictment from Eastern District of New York Case
                         number in the other District CR−18−607 as to Roberto Saenz (1), Maynor
                         Melendez−Mendoza (2), Naseem Bokhari (3). (dgj) (Entered: 11/19/2018)
    11/16/2018    3   30 Minute Order for proceedings held before Magistrate Judge Jonathan Goodman:
                         Initial Appearance in Rule 5(c)(3)/Rule 40 Proceedings as to Maynor
                         Melendez−Mendoza held on 11/16/2018. Date of Arrest or Surrender: 11/15/18.
                         Detention Hearing set for 11/20/2018 10:00 AM in Miami Division before MIA
                         Duty Magistrate. Removal Hearing set for 11/20/2018 10:00 AM in Miami
                         Division before MIA Duty Magistrate. Attorney added: Noticing FPD−MIA for
                         Maynor Melendez−Mendoza (Digital 14:53:29) Signed by Magistrate Judge
                         Jonathan Goodman on 11/16/2018. (cg1) (Entered: 11/19/2018)
    11/19/2018    2   28 Invocation of Right to Silence and Counsel by Maynor Melendez−Mendoza
                         (Harris, Ayana) (Entered: 11/19/2018)
    11/20/2018    9   31 Minute Entry for proceedings held before Magistrate Judge Chris M. McAliley:
                         Status Conference re: detention/removal as to Maynor Melendez−Mendoza held
                         on 11/20/2018. (Digital 13:24:29) (cg1) (Entered: 11/20/2018)
    11/20/2018        32 Bond Set as to Maynor Melendez−Mendoza (2) Agreed $500,000 Csb/Nebbia.
                         (cg1) (Entered: 11/20/2018)
    11/20/2018   12   33 WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Maynor Melendez−Mendoza
                         (cg1) (Entered: 11/20/2018)
    11/20/2018   18   34 WAIVER of Rule 5(c)(3)/Rule 40 Hearing by Maynor Melendez−Mendoza
                         (cg1) (Entered: 11/21/2018)
    11/20/2018   19   35 COMMITMENT TO ANOTHER DISTRICT as to Maynor
                         Melendez−Mendoza. Defendant committed to the Eastern District of New York.
                         Closing Case for Defendant. Signed by Magistrate Judge Chris M. McAliley on
                         11/20/2018. See attached document for full details. (cg1) (Entered: 11/21/2018)




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      UNI'I'ED STATES DISTRICT CO IJRT
      EASTERN DISTRICT 0F NEW YORK


       UN ITED STA TES O F AM ERICA
                                                                 lN D l(J.'I'M E N T
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                                                                                   '
            -   against-                                         C'
                                                                  r4      2.
                                                                      d. .h
                                                                      .
                                                                                            1
      ENA YA TULLAI'IK IIW A JA ,                                (T.18,U.S.C.,jj981(a)(1)(C' .).
             31so know n as ''N at,''                             982(a)(1),982(b)(1).1952(.
                                                                           .               a)(1)(A).
      ABDULRA HM AN KHW AJA.                                      l952(a)(3)(A),1956(a)(l),
      RANA RA HIM I,                                              l956(a)(2),1956(a)(3),1956(h),
      SHIK EBA RHA M A TZA DA ,                                      1957(b),1960(a).2 and 3551etsetl.;
      ROBER'I'O SA ENZ,                                              -l-21,U.S.C.9j853(p);T 28h
      M AYNOR M ELENDEZ-M ENDOZA                                     U.S.C..,j246l(c);T.3l,U.S.C..jj
      andNASEEM BOKHARI,                                             53l7(c)(l)(A),5317(c)(1)(B),
            also known as''Sam m y,''                                5424(:1)(l),5324(11)(3).5324(b)(1),
                                                                               .

                                                                     5324(d)(l)and 5324(d)(2))
                             Dcfcndants.

                                                                                        BIA NCO,J.
     THE G RAN D JIJRY CIIA RG ES:
                       .                                                               BRO W N , M .J.
                                            l)k-1-lt(1.1)tlC-
                                                            1-1(11?$@

                    A ta1ltilnes relevantto this Indictlnent. tlnlegs otllel
                                                                           avise indicated-         .




            TlleDcfendantsandThcirCpmpaniu

                           The det-
                                  endantsENA YATU LLA H KH NVA JA also know n as $*Nat,''

     A BDULRAHM AN KHW AJA,RA NA RAHIM I. SHIKEBA RIIAM ATZADA,RIIBERI'
                                                                      ()
     SAENZ.M AYNOR M EI- ENDEZ-M ENDOZA and NASEEM BOKHA III, also known as

     tts:llnlny,''together w ith othcrs, througlla scries of-closely-held falniIy-osvllcd corporations
                                                                                                                   ,


     uscd tlyeactualand purportcd purchascand cxportofmobilephoncsto transfcrm onetary




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     proceedsfrom theillegalsaleofnarcoticsand financialcrim esin the United Statesto dnlg

     dealers and co-conspirators throughoutSouth A m erica and elsewhere.

                  2.      ThedefendantENAYATULLAH KHW AJA,also known astiNat''

     (hereinaftertEE.KHW AJA'') wastheownerandmanagerofTronixTelecom Corp.
    (t'Tronix''),anelectronicsandmobilephoneimportandexportcompany,withanofficeand
    warehouse in M iam i,Florida. E.KHW AJA also managed Sysco International, LLC.

    (çkSysco''),animportandexportcompany,whichshared spacewithTronix inM iami                .



    KHW AJA m anaged both companiesfrom hishomein Farmingdale, New York.E.

    KHW AJA structured and instructedothershow to structurecash depositsto hidethe source

    ofcash paym ents.

                          ThedefendantABDULRAHM AN KHW AJA (hereinafterttA               .



     KHW AJA''),thecousinofE.KHW AJA,wasaresidentofSyosset, N ew York. A .
     KH W AJA owned and m anagcd com panies involved in the purchase im portand cxportof
                                                                    ,

     electronicsand m obiletelephones, including: N ationalElectronics,
                                                                          lnc.(stNational''),lshan
     lnternational,lnc.(%çlshan'') ISK Coporation(t:1SK'') TabanCompany (fTaban''), Solid
    W ireless,Inc.(CssolidW ireless'')and SolidElectronics, Inc.(tçsolidElectronics''). National,
    lshan and Taban operated from an office and warehouse in Farm ingdale. ISK ,Solid

    W irelessand Solid Electronicsshared space in an officeand warehouse in M iami. A.

    KHW AJA used Ishan to importmobile telephonesandelectronicsand Nationalto supply

    mobiletelephonesforexportand saleto histhree M iami- based companies.

                  4.     ThedefendantRANA RAHIM I(hcreinaftert$RAHIM 1''), the sisterof
    E.KH W AJA and the cousin ofA . KH W AJA ,w asa residentofFarm ingdale. RA H IM I was

    the bookkeeperforTronix, Sysco and N ational.



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                          ThedefendantSHIKEBA RHAMATZADA (hereinafter
      CCRHAMATZADA''),thesisterofA.KHW AJA andthecousinofE.KHW AJA,wasa
     residentofFarm ingdale. RHAM ATZADA wasPresidentofSolid W irelessand ISK.

      RHAM ATZADA worked in Farm ingdalewith herbrother,A .K HW AJA,in managing

     Nationaland othercompanies.

                  6.      ThedefendantROBERTO SAENZ (hereinafterKtSAENZ'')wasan
     employeeand managerof1SK in M iam i,who served asago-between forISK and itsSouth

     American clientbase.SAENZ accepted bulk cash deliveriesand wiretransfersf-
                                                                              rom illegal

     drug salesand financialcrimesaspaym entsforcellularphones, w hich paym entsw ere used

     to hide the transferofillegally obtained proceeds.

                          ThedefendantsM AYNOR M ELENDEZ M ENDOZA (hereinafter
     VIM ELENDEZ'') and NASEEM BOKHARI(hereinafterttBOKHARI''Iwereemployeesof
     Tronix in M iami,who acceptedbulk cash delivcriesfrom illegaldrug salesand financial

     crim es as paym ents for cellularphones, and structured cash depositsto hidethesource of

     illicitcash paym ents for exportgoods.

     ll.    M onev Transm itting Business License Requirem ents

                   8.     A ttmoneytransmitting business''wasdefined in Title 31, U nited States

     Code,Section5330(d)(1)(A)toincludeanybusiness,otherthantheUnited StatesPostal
    Service,that(a)providedcheckcashing,currencyexchange, m oney transm itting and
    remittanceservices,issucd andredeem ed moncy orders, travelers'checksand sim ilar

    instrum ents and any otherperson who engaged asa businessin the transm ission off'unds,

    including any person who engaged asa businessin an inform alm oney transfersystem and

    any netw ork ofpeople w ho engaged as a business in facilitating the transferofm oney



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     dom estically and internationally outside ofthe conventionalfinancialinstitutions system ,

     (b)thatwasrequiredtofilereportsunderTitle31,UnitedStatesCode,Section5313and
     (c)thatwasnotadepositoryinstitution.
                   9.     Title31,United StatesCode,Section 5330(a)(1)rcquiredthatal1
     individualsinvolved in tsmoney transmitting businesses''beregistered with theSecretary of

     theUnited StatesDepartmentoftheTreasury, an agency and departmentofthe United

     States,within 180 days ofthe date on which the businessw asestablished.

                          PursuanttoNew YorkStateBankingLaw Section650(2)(a),the
     operation ofan unlicensed money transm itting businesswaspunishableasa misdemeanor'
                                                                                              ,


     pursuanttoNew YorkStateBankingLaw Section650(2)(b)(1),theoperationofan
     unlicensed money transmitting businesswaspunishable asafelony ifthebusinessreceived

     $10,000 orm orefortransm ission in asingle transaction, $25,000orm ore fortransmission in

     apeliod of30daysorless,or$250,000 fortransmission in aperiodofayearofless          .



                         UnderNew Y ork State and Federallaw , the term <tm oney transm itting''

     included transfening fundson behalfofthepublicby any means, including transfersby wire
                                                                                                  ,

    check,facsimile and courier.

    111.   Currency Reporting Requirem ents

                  12.    TheUnited Statescurrency reporting requirementsfordomestic

    financialinstitutionsprovidcd asfollows:

                                Pursuantto Title 31, United StatesCode,Section 5313 and Title

    31,Code ofFederalRegulations, Section 1010.311,dom cstic financialinstitutions w ere

    required to filea Currency Transaction Report(EçCTR'')with the U S.Departm entof
                                                                      .



    Treasury foreach transaction ofcurrency, such asa deposit,w ithdraw al exchange of
                                                                           ,




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     currency and otherpaymentand transferby,through and tothe financialinstitution involving

     morethan $10,000.

                           (b)   PursuanttoTitle31,CodeofFederalRegulations,Section
     1010.313,multiple currency transactionsweretreated asasingletransaction ifthe financial

     institution had knowledgethatthey wereby oron behalfofany person and resulted in either

     cash in orcash outtotaling morethan $10,000 during any onebusinessday.Depositsmade

     atnightoroveraweekendorholiday wcretreated asifreceived on thenextbusinessday

     following thedeposit.

                                 CTRSrequired disclosureof,am ong otherthings, the identity of

     theindividualwho conducted the transaction andtheindividualororganization forwhom the

     transaction wascompleted.

                          (d)    CTRSwererequiredtobefiledtoassisttheUnited Statesin
     criminal,tax and regulatory investigationsand proceedings, pursuantto Title31,Code of

    FederalRegulations,Section 103. 12.

                          (e)    PursuanttoTitle31,CodeofFederalRegulations,Seciion
     1010.100(xx),tfstrt
                       zcturing''financialtransactionsincludedthebreakingdownofamountsof
    currency into amountsof$10,000 orlesspriorto transacting businessw ith dolnestic
    Gnancialinstitm ions,forthepup ose ofevadingthecurrencyreportingrequirements.

                          (9     PursuanttoTitle31,UnitedStatesCode,Section 5331andTitle
    31,Code ofRegulations, Section 1010.331,anyonewho actcd asamoney transmitting

    businessand conducted any transaction ofmore than $10,000 in coin orcurrency was
    required to file a CTR .




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                          The United Statescurrency reporting requirementsfortradesand

     businesses ftm herprovided as follow s:

                          (a)    PursuanttoTitle31,UnitedStatesCode,Section5331andTitle
     31,CodeofFederalRegulations,Section 1010.330,tradesand businessesthatreceived more

     than $10,000 in coin orcurrency wererequired to 5lea ReportofCash PaymentsOver

     $10,000ReceivedinaTradeorBusiness($ilRS Fonu 8300'')withtheDepartmentofthe
     TreasuryFinancialCrimesEnforcementNetwork(1$FinCEN'').
                          (b)    Tradcsandbusinesseswererequiredtofilean IRS Form 8300
     whenevermorethan $10,000 in coinsorcurrency wasreceived in oneormultiple

     transactionstotaling over$10,000 ina lz-month period   .




                          (c)     IRSForms8300requireddisclosureoftheidentityofthe
     individualfrom whom thecoinsorcurrency wasreceived, the identity ofthepersonon

     whosebehalfthe transaction wasconducted, adescription ofthe transaction and themethod

     ofpaym ent.

                                           CO UN T O NE
                                  (ConspiracytoLaunderMoney)
                         Theallegationscontained in paragraphsonethrough 13 arerealleged

    and incorporatedasiffully setforth in thisparagraph.

                         In oraboutand between October2013 and the date ofthisIndictment,
    b0th dates being approxim ate and inclusive, w ithin the Eastern D istrictofN ew York and

    elsew here,the defendants EN AY A TU LLA H K HW A JA , also known as $tNat,''

    A BDU LRA HM AN K H W AJA , RAN A RA HIM I,SHIKEBA RH A M A TZA DA RO BERTO
                                                                      ,




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      SAENZ,M A YN OR M ELEN DEZ-M EN DO ZA and N A SEEM BOK H ARI,also known as

     S4sam m y,''togetherw ith others,did know ingly and intentionally conspirc to:

                           (a) conductfinancialtransactionsaffectinginterstateandforeign
     commerce,which in factinvolvedtheproceedsofoneormore specified unlaw fulactivities,

    to wit:wirefraud,in violation ofTitle 18, United StatesCode,Section 1343,
                                                                            .interstate and
    foreign traveland transportation in aid ofaracketeering entem rise, in violation ofTitle 18,

    United StatesCode,Section 19529unlicensed m oney transmitting, in violation ofTitle 18,

    United StatesCode,Section 1960;and illegaldrugtrafficking, in violationofTitle21,United

    StatesCode,Sections841and 960, knowing thattheproperty involved in the financial

    transactionsrepresented theproceedsofsom efol'm ofunlawfulactivity, (i)withtheintcntto

    promotethecarrying on ofspecified unlawfulactivity, contrary to Title l8,United States

    Code,Section 1956(a)(1)(A)(i),and(ii)knowingthatthetransactionsweredesignedinwhole
    and inpartto concealand disguisethenature, location,source,ownership and controlofthe

    proceedsofsuch specificdunlawfulactivities, and to avoid one orm oretransaction reporting

    requirem ents under State and Federallaw , contrary to Title 18,United StatesCode Sections
                                                                                     ,


    1956(a)(1)(B)(i)and(a)(1)(B)(ii);

                          (b)    transport,transmitandtransferoneormoremonetary
    instrumentsand fundsfrom oneormoreplacesin theUnited Statesto andthrough one or

   m ore places outside the United States and to one orm ore placcs in the United States from and

   through oneormoreplacesoutsidethe Unitcd States, (i)withtheintenttopromotethe

   carrying on ofone orm ore specified unlaw fulactivities, to w it:w ire fraud,in violation of

   Title 18,U nited StatesCode, Section 1343;interstateand foreign traveland transpol-tation in

   aid ofa racketeering entem rise, in violation ofTitle 18, United States Code,Section 1952*
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     unlicensed money transmitting,in violation ofTitle l8,United StatesCode,Section 1960,
                                                                                         .

     and illegaldrug trafticking,in violation ofTitle 21,U nited States Code,Sections 841 and

     960,contrarytoTitle 18,UnitedStatesCode,Section 1956(a)(2)(A),and(ii)knowingthatthe
     property involved in the transportation,transm ission and transfkrrepresented theproceedsof

     some form ofunlawfulactivity and thatthetransportation,transm ission andtransferwas

     dcsigned in wholeand in pa14 to concealand disguise thenam re, location,source,ownership

     and controloftheproceedsofsuch specified unlawfulactivity, contrary to Title 18,United

     StatesCode,Section 1956(a)(2)(B)(i);
                            (c)    conductfinancialtransactionsaffectinginterstatecommerce,
     which transactionsinvolved property represented by aperson atthedirection of, and w ith the

     approvalof,afederalofficialauthorized to investigate violationsofTitle 18, United States

     Code,Section l956,to betheproceedsofspecifiedunlawfulactivity, specifically,illcgaldrug

     trafficking,in violation ofTitle21, United StatesCode,Scctions841and 960, with the intent

    to(i)promotethecarryingonofspecifiedunlawfulactivity, contraryto Title l8,United
    StatesCode,Section 1956(a)(3)(A),(ii)concealanddisguisethenature, location,source,
    ownership and controlofpropertybelieved tobetheproceedsofthe specified unlawful

    activity,contrary to Title 18,U nited StatesCode, Section 1956(a)(3)(B),and(iii)avoidoncor

    m ore transaction reporting requirem entsunderState and Federallaw , contrary to Title 18,

    UnitedStatesCode,Section 1956(a)(3)(C);and
                           (d)    engageinmonetarytransactionsinandaffectinginterstateand
    foreign com m erce, including deposits,withdraw alsand transfers offunds and m onetary

    instruments,in criminally derived property thatwasofa valuegreaterthan $l0,000 and that
    w as derived from one orm ore specified unlaw fulactivities, to w it:w ire fraud,in violation of



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     Title 18,United StatesCode,Section 1343*
                                            ,interstateand foreign travelandtransportation in

     aidofaracketeering enterprise,in violation ofTitle 18,United StatesCode,Section 1952,
                                                                                         .

     unlicensed m oney transm itting,in violation ofTitle 18,United States Code,Section 1960,
                                                                                            .

     and illegaldrug trafficking,in violation ofTitle21,United StatesCode,Sections841and

     960,contrary to Title l8,United StatesCode,Section 1957.

                    (Title18,United StatesCodc,Sections1956(h),1956(a)(1),1956(a)(2),
      1956(a)(3),1957(b)and3551.
                               t1seq.)
                                             COUN T TW O
                        (OperationofUnlicensed MoneyTransmittingBusiness)
                           The allegationscontained in paragraphs onc through 13 arc rcallcged

      and incorporated as iffully setforth in this paragraph.

                            ln oraboutand between October2013 and thedateofthisIndictment,

      both datesbcing approximateandinclusive,within theEastern DistrictofNew York and

      elsew here,the defendantsEN AY A TU LLA H K HW A JA ,also known as ((N at,''M A YN O R

      M ELEN DEZ M END O ZA and N A SEEM BO K HA RJ,also ltnow n as tisam m y,''together

      w ith others,did know ingly and intentionally conduct,control,m anage,supervise,directand

      own alland partofan unlicensed m oney transm itting business,w hich affed ed interstate and

      foreign commerce,and operated withoutan appropriatem oney transm itting licensc, contrary

      toNew YorkBankingLaw Sections650(2)(a)and650(2)(b)(1).
                   (Title 18,UnitedStatesCode,Sections1960(a),2and3551#1seq.)  .




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                                          CO UN T THR EE
                             (CausingtheFailuretoFileReports:CTRs)
                          The allegationscontained in paragraphs one through 13 are realleged

     and incop orated as iffully setforth in this paragraph.

                          ln oraboutand between October2013 and thedateofthisIndictment,

     b0th datesbeing approxim ate and inclusive, within theEastcrn DistrictofNew York and

     elsewhere,thedefendantsENAYATULLAH KHW AJA , also known as$çNat,''M AYNOR

     M ELENDEZ M ENDOZA and NASEEM BOKHARJ, also know n as ççsam m y,''together

     withothers,didknowingly and willfully causeand attemptto causeoneormore domestic

     financialinstitutions,to wit:Citibank, W ells Fargo,Bank ofA m erica, Ocean Bank,and

     Habib American Bank,to failto fileoneorm oreCTRS, asrequired by Title31,United

     StatesCode,Section5313(a)andtheregulationspromulgatedthereunder, Title31,Codeof
     FederalRegulations,Section 1010.310,and did so aspartofapattern ofillegalactivity

     involvingm orethan $100,000 in a lz-m onth period.

                   (Title31,UnitedStatesCode,Sections5324(a)(l),5324(d)(1)and
    5324(d)(2);Title 18,UnitedStatesCode,Sections2and355lttseq.).




                                          COUNT FOUR
                        (CausingTheFailureto FileReports:lRSForms8300)
                         Theallegationscontained inparagraphsone through 13 arerealleged

    and incorporated asiffully setforth in thisparagraph.

                  21.    ln oraboutand between October2013 and the dateofthisIndictment
                                                                                              ,

    both datesbeing approxim ate and inclusive, w ithin the Eastern D istrictofNew York and

    elsewhere,the defendants EN A YA TULLA H K H W AJA , also know n as 4tN at''M A YNO R
                                                                               ,

    M ELEN D EZ M END O ZA and N ASEEM BO K HA RI, also know n as iisam m y ''together
                                                                                   ,




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      with others,did knowingly andwillfully cause and attemptto causeanonfinancialtradeand

      business,to wit:Tronix Telecom Corp.,tofailto file oneorm ore lRS Form s8300,as

      required by Title 31,United StatesCode,Section 5331and the regulationspromulgatcd

      thereunder,Title31,CodeofFederalRegulations,Sedion 1010.330,and did so aspartofa

      pattern ofillegalactivity involving morethan $100,000 in a lz-month period.

                     (Title31,UnitedStatesCode,Sections5324(b)(1),5324(d)(1)and
     5324(d)(2);Title18,United StatesCode,Sections2and3551t!seg.)  .




                                             COUN T FIVE
                                  (StructuringFinancialTransactions)
                    22.    The allegationscontained in paragraphsonethrough 13 arerealleged

     and incorporated asiffully setforth in thisparagraph.

                           In oraboutand between October2013 and thedateofthisIndictment,

     both datesbeing approxim ate and inclusive, within theEastern DistrictofNew York and

     elsewhere,thedefendantsENAYATULLAH KHW AJA , also know n as $çN at,''

     A BD ULRA HM A N IQHW A JA , R ANA M HIM I,SH IK EBA RH AM A TZA DA M A YN O R
                                                                        ,

     M ELENDEZ-M ENDOZA andNASEEM BOKHARI, also known asç'Sam my,''together

     withothers,forthe purpose ofevading thereporting requirementsofTitle 31 U nitcd States
                                                                                  ,


     Code,Section 5313(a),andtheregulationsprescribedthereunder, did knowingly and
     intentionally stnlctureandassistin structuringoneormoretransactionswith oneormore

     dom estic financialinstitutions, to w it:C itibank,W ells Fargo, Bank ofA m erica,O cean Bank
                                                                                                 ,

     and H abib A m erican Bank, aspartofa pattern ofillegalactivity involving m ore than




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     $100,000 in a lz-month period,by breaking down am ountsofcurrency deposited into

     amountsof$10,000 orlesspriorto such deposits.

                    (Title31,United StatesCode,Sections5324(a)(3),5324(d)(1)and
     5324(d)(2);Title 18,UnitedStatesCode,Sections2and3551.
                                                          ttseq.)
                                              COUN T SIX
          (lnterstateandForeignTravelandTransportationinAidofRacketeeringEnterprises)
                   24.    The allegations contained in paragraphs one through 13 are realleged

     and incom orated as iffully setforth in thisparagraph.

                   25.    In oraboutand between October2013 and thedate ofthislndictment,

     both datesbeing approximateand inclusive,within theEastern DistrictofN ew York and

     elsewhere,the defendantsEN A Y ATULLA H KH W A JA ,also know n as 1tNat,''

     A BDU LRA H M AN K H W AJA ,RAN A RA H IM I,SH IK EBA RH A M A TZA DA ,M A YN O R

     M ELENDEZ,ROBERTO SAENZ and NASEEM BOKHARI,alsoknown asdtsamm y,''

     togetherwith others,did knowingly and intentionally travelin interstate and foreign

     com m erce and use the m ailand one orm ore facilities in interstate and foreign com m erce,

     with intentto distribute the proceeds ofan unlaw fulactivity,to wit:any acts involving

     failure to file currency transaction reports and m oney laundering w hich are indictable under

     subchapter11ofchapter53 ofTitle31,United StatesCode,and Sections 1956 and 1957 of

     Titlc l8,United StatesCode,and thereafterdid knowingly and intentionallyperform and

     attempttoperfonn(a)oneormoreactstodistributetheproceedsofsuchunlawfulactivity,




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      and(b)oneormoreactstopromote,manage,establish,can'yon andfacilitatethepromotion,
      m anagem ent,establishm entand carrying on,ofsuch unlaw fulactivity.

                     (Title18UnitedStatesCode,Sections1952(a)(l)(A),1952(a)(3)(A),2and
      3551 t(secl.
           .     )
                      CRIM INAL FORFEITURE ALLEGATION A S TO COUNT ONE

                          TheUnited Stateshereby givesnotice to the defendantscharged in

      CountOne,thatupon theirconviction ofsuch offense, thegovernmentwillseek forfeiturein

      accordancewithTitle 18,United StatesCode, Section982(a)(l),whichrequiresanyperson

      convicted ofsuch offenscto forfeitany property, realorpersonal,involved in such offense
                                                                                            ,

      orany property traceableto such propcrty,including, butnotlimitcd to:

                          (a)    any andallfundsondepositin OceanBankaccountnumber
      1309173505 held in the name ofISK Corporation, and a11proceeds traceable thereto;

                          (b)    anyandal1fundsondepositinAmerasiaBankaccountnumber
     11162665 held in the nam e of ISK Corporation, and a11proceeds traceable thereto;

                                 any and a1lfundson depositin Ocean Bank accountnum ber
     1309578105 held in the name ofSolid W irelessInc., andallproceedstraceablethereto;

                          (d)    anyanda1lfundsondepositinAmerasiaBankaccountnumber
     l1162657heldinthenameofSolidW irelesstd/b/a1SK Coporation), and allproceeds
     traceable thereto;

                                any and allfundson depositin Ocean Bank accountnum ber
     1309170005 held in the nam e ofSolid Electronics, and a11proceeds traceable thereto;

                          (9    anyanda11fundsondepositinOcean Bankaecountnumber
    2511965605 held in the nam e ofTronix Telecom , and allproceeds traceable thereto;



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                         (g)    anyanda1lfundsondepositinHabibAmericanBankaccount
     number701224285held in thenameofSysco lnternational,and a1lproceedstraceable

     thereto;

                          (h)   anyandal1fundsondepositinW ellsFargoaccountnumber
      9973654396 held in thenam eofSysco Intcrnational,and a1lproceedstraceablethereto;

                                any and a11fundson depositin CapitalOneBank account

      number7528232498 held in thenameofNationalElectronicsInca,and a11proceedstraceable

     thereto;

                                 any and al1fundson depositin Devon Bank accountnumber

      0157998301held in the nam e ofN ationalElectronics Inc.,and a11proceedstraceable

      thereto;

                          (k)   anyanda11f'
                                          undson depositinHabibAmerican Bankaccount
      number 101214462 held in the nam e ofN ationalElectronics lnc.,and a1lproceedstraceable

     thereto'
            ,

                                any and allfundson depositin CapitalO ne Bank account

     num ber2914004250 held in the nam e ofIshan lnternationallnc.,and a1lproceeds traceable

     thereto;

                          (m) anyand allfundsondepositin CapitalOneBank account
     number2914004268 held in tht name oflshan lnternationalInc.d/b/aTaban Company,and

     allproceedstraceable thereto;

                          (n)   anyanda11ftmdsondepositinHabibAmericanBankaccount
     num ber701232250 held in the nam e ofIshan lnternationallnc.,and allproceedstraceable

     thereto;



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                          (o)      anyanda11fundsondepositinHabibAmerican Bank account
      num ber701223362 held in the nam e ofZara lnternational,and al1proceedstraceable

      thereto;

                          (p)      anyanda1lf'undsondepositinHabibAmericanBank account
      number701236817heldinthenameofAbdulrahmanS.Khwaja,and a11proceedstraccable
     thereto'

                          (q)      anyandal1fundsondepositinHabibAmericanBankaccount
     number701230044 held inthenamesofSayed0.Khwaja,HamidaKhwaja,and Shikeba
     Rhamatzada,and a11proceedstraceablethereto;

                          (r)      any anda1lfundsondepositinHabib AmericanBankaccount
     number701230036 held in the nam esofShikebaRham atzadaand Fahim Rhamatzada, and

     allproceeds traceable thereto;

                                   any and al1fundson depositin l-
                                                                 labib A m erican Bank account

     number701222853 held in the namesofAbdulrahman S. KhwajaandZulfiaKhwaja,and al1

     procecds traceable thereto;

                                   any and a1lfundson depositin Habib Am erican Bank account

     number701227558heldinthenamesofEnayatullah KhwajaandM alalaiJamal, and all
     proceeds traceable thereto;

                         (u)       anyand a11fundsondepositinNew York CommunityBank
     accountnumber53030038102heldinthenameofEnayatullahKhwajaandM alalaiJamal,
     and allproceedstraceablethereto;




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                              (v) al1right,titleand interestintherealpropertyandpremises
      located at500 Smith Street,Farmingdale,New York 11735,and allproceedstraceable

      thereto;

                              (w) allright,titleandinterestintherealpropertyandpremises
      located at239Carnation Drive,Farmingdale,New York 11735,and a11proceedstraceable

      thereto;and

                              (x)   a11right,titleandinterestintherealpropertyandpremises
      located at32 Princeton Drive,Syosset,New York 11791, and al1proceedstraceablethereto.

                              Ifany oftheabove-described forfeitableproperty, as a resultofany act

     orom ission ofthe defendants:

                                    cannotbe located upon the exercise ofdue diligence;

                              (b)   hasbeentransferredorsoldto,ordeposited with,athirdparty;
                              (c)   hasbeenplacedbeyondthejurisdictionofthecourt;
                              (d)   hasbeensubstantiallydiminishedin value;or
                                    hasbeen comm ingled with otherproperty which cannotbe
     divided w ithoutdifficulty;

     itisthe intentoftheUnited States, pursuanttoTitle21,UnitedStatesCode,Section853(p),

     as incorporated by Title 18,U nited States Code, Section982(b)(1),toseekforfeitureofany

     otherproperty ofthedefendantsup to thevalue oftheforfeitableproperty described in this

     forfeiture allegation.

                    (Titlel8,United StatesCode,Sections982(a)(1)and982(b)(l);Title21,
     UnitedStatesCode,Section853(p))




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                         CRIM INAL FORFEITURE ALLEGATION AS TO
                                             C O UNT TW O

                   28.     The U nited Stateshereby givesnotice te the defendants charged in

     CountTw o that,upon their conviction ofsuch offense,the governm entw illseek forfeiture in

     accordancewithTitle18,UnitedStatesCode,Section982(a)(1),whichrequiresanyperson
     convicted ofsuch offenseto forfeitany property,realorpersonal,involved in such offense,

     oranyproperty traceablctosuch propert
                                         'y,including butnotlim itedto:

                                   any and al1fundson depositin Ocean Bank accountnum ber

     2511965605 held inthenameofTronix Telecom ,and a1lproceedstraceablethereto;and

                          (b)      a11right,titleandinterestintherealproperty andpremises
     located at239 Carnation Drive,Farmingdale,New York 11735, and a11proceedstraceable

     thereto.

                   29.    lfany oftheabove-described forfeitableproperty, as a resultofany act

     oromission ofthedefendants:

                          (a)      cannotbelocatedupontheexerciseofduediligence;
                          (b)      hasbeentransferredorsoldto,ordeposited with,athirdparty;
                                   hasbeenplacedbeyondthejurisdictionofthecourt;
                                   hasbeen substantially diminished in value;or

                          (e)      hasbeencommingledwithotherpropertywhichcannotbe
     divided w ithoutdifficulty;

     itis the intentofthe United States, pursuanttoTitle21,UnitedStatesCode,Section853(p),

     as incorporated by Title 18,U nited States Code, Section 982(b)(l),to seek forfeitureofany




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     otherpropeo ofthedefendantsup tothevalue oftheforfeitableproperty described in this

     forfeiture allegation.

                    (Titlel8,United StatesCode,Sections982(a)(1)and982(b)(1);Title21,
     United StatesCode,Section853(p))
                              CRIM FNAL FORFEITURE ALLEGATION AS TO
                                     CO UN TS TH REE AN D FOU R

                    30.       TheUnited Stateshereby givesnoticeto thedefendantscharged in

     CountsThree and Fourthat,upon theirconviction ofeithersuch offensc,thegovernment

     willseekforfeitureinaccordancewithTitle31,UnitedStatesCode,Sedion 5317(c)(1)(A),
     which requiresanyperson convicted ofsuch offenseto forfeitany property, realorpersonal,

     involved in such offense,orany property traceable to such property, including butnot

     lim ited to:

                                    any and allfundson depositin OceanBank accountnumber

     2511965605held in thenam eofTronix Telecom ,and a11proceedstraceablethereto;and

                          (b)       a1lright,titleandintertstintherealpropertyandpremises
     located at239 Carnation D rive,Farm ingdale, New York 11735,and allproceedstraceable

     thereto.

                          Ifany oftheabove-described forfeitableproperty, asa resultofany act

     orom ission ofthedefendants'
                                .

                          (a)      cannotbelocatedupontheexerciseofduediligence;
                          (b)      hasbeentransferredorsoldto,ordepositedwith,athirdparty;
                                   hasbeenplacedbeyondthejurisdictionofthecourt;
                          (d)      hasbeensubstantiallydiminishedinvalue;or



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                                   hasbeen comm ingled with otherproperty which cannotbe

     dividcd w ithoutdifficulty;

      itistheintentofthcUnitcdStates,pursuanttoTitle21,UnitedStatesCode,Section853(p),
     asincorporatedbyTitle31,UnitedStatesCode,Section5317(c)(1)(B),toseekforfeitureof
     any otherproperty ofthedefendantsup to the valueoftheforfeitableproperty described in

     this forfeim re allegation.

                    (Title31,UnitedStatesCode,Sections5317(c)(1)(A)and5317(c)(1)(B);Title
      21,United StatesCode,Section 853(p))
                          CRIM IN A L FORFEITUR E A LLEGA TION A S TO
                                          CO UN T FIV E

                           The U nited States hereby gives notice to the defendantscharged in

     CountFivethat,upon theirconviction ofsuch offense, thegovernm entwillseek forfeiturein

     accordancewithTitle31,United StatesCode,Section 5317(c)(1)(A),whichrequiresany
     person convicted ofsuch offenseto forfeitany property,realorpersonal, involved in such

     offense,orany propeo traceableto such property,including butnotlimited to:

                           (a)     any andallfundson depositinOceanBank accountnumber
     2511965605 held in the nam e of'rronix Telecom , and allproceedstraceablethereto;

                           (b)     anyandallfundsondepositinCapitalOneBankaccount
     number7528232498 held in the name ofN ationalElectronicsInc., and allproceedstraceable

     thereto;and

                           (c)     any andal1fundsondepositinHabibAmerican Bankaccount
     num ber 101214462 held in the nam e ofN ationalElectronicslnc., and allproceedstraceable

     thereto.




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                          Ifany oftheabove-described forfeitableproperty,asaresultofany act

     orom ission ofthe defendants:

                           (a)    cannotbelocatedupontheexerciseofduediligence;
                           (b)    hasbeen transferred orsold to,ordeposited with,athirdparty;

                           (c)    hasbeenplacedbeyondthejurisdictionofthecourt;
                           (d)    hasbeensubstantiallydiminishedin value;or
                           (e)    hasbeencommingledwith otherpropertywhichcannotbe
     divided withoutdifticulty;

     itistheintentofthe United States,pursuantto Title21,United StatesCode, Section 853(p),

     asincorporatcdbyTitle31,United StatesCode,Section 5317(c)(1)(B),toscekforfeitureof
     any otherproperty ofthe defendantsup tothevalucoftheforfeitableproperty described in

     thisforfeiture allegation.

                   (Title31,United StatesCode,Sections5317(c)(1)(A)and5317(c)(1)(B);Title
     21,UnitedStatesCode,Section853(p))
                  CRIM INAL FORFEITURE ALLEGATION AS TO COUNT SlX

                   34.    TheUnited Stateshereby givesnoticeto thedefendantscharged in

     CountSix that,upon theirconviction ofsuch offense, thegovernmentwillseek forfeiturein

     accordance w ith Title 18,U nited States Code, Section981(a)(1)(C)andTitle28,United

     StatesCode,Section2461(c),whichrequireanypersonconvictedofsuchoffensetoforfeit
     any property,realorpersonal,constituting,orderived from , proceedsobtained directly or

    indircctly asa resultofsuch offense, including butnotlim ited to:

                                  any and allfunds on depositin Ocean B ank accountnum ber
    25l1965605 held in the nam e ofTronix Telecom , and a1Iproceedstraceablethereto;and



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                             (b)    an) and al1fundsondcpositin CapitalOne l3ank account

       num ber7528232498 held in thc nam c ()fNationalIt
                                                       'lcctronicsInc..and aIlprocccdstraceable

       thereto.
                             Ifany ot-thc aboA'c-described lklrlkila
                                                                   .ble propert).as a resultofany act

       orom ission ofthcdefendants:

                             4a)    cannotbe located upon lhe exercise ofdue diligencc'
                                                                                      .

                             (b)    hasbcen lransferred orsold to.ordeposited urith.athird part)'
                                                                                                .

                             (c)    hasbeenplaced bc)ond theiurisdictionol-thttcourt;
                             (d)    hasbeen substantialll'dim inished in N'
                                                                          alue:or

                             (e)    hasbeencom mingled NNith (ltherprllpcrt) whichcannolbkl
       divided w ithoutditxculty:

       itis the intentofthe United Statcs.pursuantto l-itle 2l.United StatesCode.Section 853(p).

       to seek forfciturc ofany otherproperty 01-the defendantsup to the value ot'the tbrfeitable

       propeny described in this lbrtkiture allegation.

                     (Title 1#.United StatesC.klde.Section 98l(ajf1)(C)-
                                                                       .Title2l.tg
                                                                                 lnitcd States
      Code,Section 853(p):Title28,tfnitcd StatcsCodc.Seclion 2461(c))


                                                                      A TRLTE BILL



                                                                      j:O R.
                                                                           j;13I.
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      RICHA RD P. DONO GH LCE
      UN ITIîD STATES ATTO RN EY
      EASTERN DISTRICT O F NEW Y ORK
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         MAYNOR MELENDEZ-MENDOZA,                                             W N,M X                  .
                        sijinkant
                                                 A RREST W ARR ANT
To:      Anyauthorized law enforcementofficer

         YOU ARE COM M ANDED toarrestandbringbeforeaUnitedStatesmagistratejudgewithoutunnecessarydelay
(nameofpersontobearrested) M A YNOR M ELENDEZ-M EN DOZA
who isaccusedofan offenseorviolation basedonthefollowingdocumentfiledwith thecourt:
V lndictment           O SupersedingIndictment        D Information        (
                                                                           D SupersedingInformation (
                                                                                                    D Complaint
O Probation Violation Petition          O Supervised ReleaseViolationPetition              O Violation Notice (
                                                                                                              D OrderoftheCourt
Thisoffenseisbriefly describedasfollows:
 ConspiracytoLaunderMoneyinviolationofTitlel8,UnitedStatesCode:Sections1956(h),1956(a)(1),1956
 (a)(2),1956(a)(3)and l957(b);OperationofUnlicensedM oney TransmittlngBusinessinviolationofTitle 18,
 United StatesCode,Section 1960(a);Failureto FileReportsin violationofTitle31,United StatesCode,
 Sections5324(a)(1),5324(d)(1)and 5324(d)(2);FailuretoFileReportsinviolationofTitle31,United States
 Code,Sections5324(b)(1),5324(d)(l)and5324(d)(2);andStructuringFinancialTransactionsinviolationof
 Title31,UnitedStgtesCode,Stctions5324(a)(3),5324(d)(1)and5324(d .
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(nameofpersontobearrested) NA SEEM BO KHA RI?also knowp >! ''Sam my''                               .

who isaccused ofan offenseorviolation based onthefollowing documentfiled with thecourt:

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Thisoffenseisbriefly described asfollows:
  CônspiracytoLaunderMoneyinviolationofTitlelslUnitedStatesCode.Seclions1956(h),1956(a)(1),1956(a)(2),1956(a)(3)
  and 1957(b);Operation ofUnlicensed MoneyTransmltting Businessinviolation ofTitle 18,UnitedStatesCode.Section 1960(a);
  FailuretoFileReportsinviolation ofTitle31,United StatesCode,Sections5324(a)(1),5324(d)(1)and5324(d)(2);Failureto
  FileReportsinviolationofTitle3l,UnitedStatesCode,Sectitms5324(b)(1).5324(d)(1)and5324(d)(2);StructuringFinancial
  TransactionsinviolationofTitle31,UnitedStatesCode,Sections5324(a)(3),5324(dX1)and5324(d)(2)andlnterstateand
  ForeignTravelandTransportationin AidofRacketeeringEntep risesinviolationofTitle 18United StatesCode.Sections1952
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                   ROBERTO SAENZ,                                           BIANCO , J.

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                                             AR REST w AR RANT                          ' ' '
To:     Any authorized law enforcementofscer

         YOU ARE COMMANDED toarrestandbringbeforeaUnited Statesmagistratejudgewithoutunnecessary delay
(nameofpersontobearrested) ROBERTO SAEN Z
whoisaccused ofan ofenseorviolation bued onthe following documentfiled with thecourt:

# Indictment          D Supersedinglndictment     (
                                                  D Information O SupersedingInformation O Complaint
o Probationviolation Petition      o Supervised ReleaseViolation Petition              O Violation Notice O OrderoftheCourt

Thisoffenseisbriefly describedasfollows:
  Conspiracyto LaunderM oney in violationofTitle 18,United StatesCode,Sections l956(h),l956(a)(l),1956
  (a)(2),1956(a)(3)and 1957(b);InterstateandForeign TravelandTransportation inAid ofRacketeering
  EntemrisesinviolationofTitle18UnitedStatesCode,Sections1952(a)(l)(A)and1952(a)(3)(A).



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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.       18-3658-GOODMAN

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  MAYNER JOSE MELENDEZ-MENDOZA,

       Defendant.
  ________________________________________/

                        DEFENDANT=S INVOCATION OF
                      RIGHTS TO SILENCE AND COUNSEL

         The defendant named above does hereby invoke his or her rights to

  remain silent and to counsel with respect to any and all questioning or

  interrogation, regardless of the subject matter, including, but not limited

  to:   matters that may bear on or relate to arrest, searches and seizures,

  bail, pretrial release or detention, evidence at trial, guilt or innocence,

  forfeitures; or that        may     be relevant to sentencing, enhanced

  punishments, factors applicable under the U.S. Sentencing Guidelines,

  restitution, immigration status or consequences resulting from arrest or

  conviction; appeals or other post-trial proceedings.

         The Defendant requests that the United States Attorney ensure

  that this invocation of rights is honored, by forwarding a copy of it to all

  law enforcement agents, government officials, or employees associated

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  with the investigation of any matters relating to the defendant.                Any

  contact with the Defendant must be made through the defendant=s

  lawyer, undersigned counsel.

                                   Respectfully Submitted,

                                   MICHAEL CARUSO
                                   FEDERAL PUBLIC DEFENDER

                            BY:       s/Ayana N. Harris
                                   Ayana N. Harris
                                   Assistant Federal Public Defender
                                   Florida Bar No. 537624
                                   150 W. Flagler Street, Suite 1700
                                   Miami, Florida 33130-1556
                                   (305) 530-7000/(305) 536-4559, Fax
                                   Email: ayana_harris@fd.org


                          CERTIFICATE OF SERVICE

         I HEREBY certify that on November 19, 2018, I electronically
  filed the foregoing document with the Clerk of the Court using CM/ECF.
  I also certify that the foregoing document is being served this day on all
  counsel of record via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those
  counsel or parties who are not authorized to receive electronically Notices
  of Electronic Filing.


                                         s/Ayana N. Harris
                                          Ayana N. Harris




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 17 Surrenderand/ordonotobtainpassports/traveldocs                                                               Language' .



 1r, ReporttoPTSas directed/or                                                          x'saweek/monthby         Disposition'
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     Random urine testing by Pretrial
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 r7 Refrainfrom excessive use ofalcohol                                                                                                -
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 17 Maintainorseekfull-timeemployment/education                                                                                l
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    To:flsd_cmecf_notice
    Bcc:
    −−Case Participants: Harry Martin Solomon (hms@harrymsolomonlaw.com), Noticing FPD−MIA
    (mia_ecf@fd.org), Clayton Reed Kaeiser (clayton@clayrkpa.com), Magistrate Judge Jonathan
    Goodman (goodman@flsd.uscourts.gov)
    −−Non Case Participants:
    −−No Notice Sent:

    Message−Id:18217056@flsd.uscourts.gov
    Subject:Activity in Case 1:18−mj−03658−JG USA v. Saenz et al Bond Set/Reset
    Content−Type: text/html

                                              U.S. District Court

                                          Southern District of Florida

    Notice of Electronic Filing


    The following transaction was entered on 11/20/2018 at 3:22 PM EST and filed on 11/20/2018

    Case Name:       USA v. Saenz et al
    Case Number:     1:18−mj−03658−JG
    Filer:
    Document Number: No document attached
    Docket Text:
    Bond Set as to Maynor Melendez−Mendoza (2) Agreed $500,000 Csb/Nebbia. (cg1)


    1:18−mj−03658−JG−2 Notice has been electronically mailed to:

    Noticing FPD−MIA &nbsp &nbsp MIA_ECF@FD.org

    1:18−mj−03658−JG−2 Notice has not been delivered electronically to those listed below and will be
    provided by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:




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                                        Case N o: 18-3658-M J-G O OD M AN

United States ofAm erica
       Plaintiff,

                                                  Charging D istrict's Case N o. CR-I8-607

M aynorM elendez-M endoza,
      D efendant.


                      W A IV ER O F R U LE 5 & 5.1 R EM O V A L/ID ENT ITY H EAR IN G S

       lunderstand thatIhave been charged in anotherdistrict,the Eastern District ofNew Y ork.
       lhave been inform ed ofthe charges and ofm y rightsto:
       (1)           retaincounselorrequesttheassignmentofcounselif1am unabletoretaincounsel;
       (2)           anidentityhearingtodetenninewhether1am thepersonnamed inthecharges;
       (3)           productionofthewarrant,acertifiedcopyofthewarrant,orareliableelectroniccopy of
                     either;
       (4)           apreliminary hearing within 14 daysofmy firstappearanceif1am in custody and 21
                     daysotherwise- unless1am indicted- todeterminewhetherthereisprobablecauseto
                     belleve thatan offense hasbeen com m itted;
       (5)           ahearingonanymotionbythegovernmentfordetention;
       (6)           requesttransferofthe proceedingsto thisdistrictunderFed.R.Crim.P.20,to plead
                     guilty.

       1agree? towaivemyrightsto:(check thosethatapply)
          Y , An identity hearing and production ofthe w arrant.
             .'-''



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           7 A preliminaryhearing.
                     A detention hearing in the Southern DistrictofFlorida.
                     An identity hearing,production of the w arrant,and any prelim inary or detention hearing
                     to which Im ay be entitled to in this district. l requestthatthose hearings be held in the
                     prosecuting district,ata tim e setby thatcourt.
       1 consentto the issuance of an order requiring m y appearance in the prosecuting districtw here
the chargesare pending againstm e.

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                                  U nited States D istrict C ourt
                                  Southern D istrictof Florida
                                 CaseNo.18-3658-M J-GOODM AN


UN ITED STATES O F A M ERICA ,


                                            Charging D istrict's Case N o.CR-I8-607


M aynorM elendez-M endoza,
(USM# 17812-104)
                                    /

                            CO M M ITM EN T TO AN OTH ER D ISTRICT

       The defendanthas been ordered to appearin the Eastern D istrictofN ew Y ork.

       A FPD w as appointed to representD cfendantfor proceedings in this D istrict.

       The defendantrem ains in custody afterthe initialappearance in the Southern D istrictofFlorida.

       IT IS ORDERED thatthe United States marshalmusttransportthe defendant,togetherwith a

copy ofthisorder,to the charging districtand deliverthe defendantto the U nited Statesm arshalforthat

district,or to another officer authorized to receive the defendant.The m arshalorofficer in the charging

districtshould im mediately notify theUnited Statesattorney and theclerk ofcourtforthatdistrictofthe

defendant'sarrivalso thatfurtherproceedingsmay bepromptly scheduled.The clerk ofthisdistrictmust

promptlytransm itthepapersand any bailto the charging district.

       D O NE AN D O R DER ED atM iam i,Florida on 11/20/18.

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                                                                  j                tt
                                                   Chris M .M cA liley
                                                   UN ITED STA TES M A G ISTRA TE JU D GE




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